Case 2:03-cV-02044-BBD-STA Document 80 Filed 05/09/05 Page 1 of 2 Page|D 61

 
 

IN THE UNITED sTATEs DISTRICT CoURT F"‘ED 1""=" 135 r).r;.
FoR THE WESTERN I)ISTRICT oF TENNESSEE 3a ,;_V w
WESTERN DlesIoN wl iii ~9 Pti ;.- of
ASAD EL-AMIN MUJIHADEEN, ) c l F j.§":§f“;cpo
) l t i,`§
Plaintiff, )
)
v. ) No. 03-2044 l)/An
)
TENNESSEE BoARD oF )
PRoBATIoN AND PARoLEs, et al., )
)
Defendants. )

 

RULE l6(b) SCHEDULING ORDER

 

After a review of the pleadings in this case, the court has determined that this Order
should be entered for the purposes of scheduling dates for the completion of certain pre-trial

activities The following dates are established as the final dates for:

Filing Motions to Join Parties August 5, 2005
Filing Motions to Amend Pleadings August 5, 2005
Completing All Discovery Septernber 5, 2005

pursuant to Rules 26-35 and Rule 37
of the Federal Rules of Civil Procedure

Filing Pre-Trial Motions of any kind November 5, 2005
including Motions for Summary Judgment

This order will not be modified except upon showing of good cause.

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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Dated: _M/fr? O$; Zoo§_

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with sum se and/or 79{a) FecP on 5/ q f §§ gm

IT IS SO ORDERED.

 

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 80 in
case 2:03-CV-02044 Was distributed by faX, mail, or direct printing on
May 9, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

